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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION

TRAVIS ATKINS,

         Plaintiff,

v.                                          CASE NO.:     5:18-cv-95

WELLS FARGO BANK, N.A.,

         Defendant.
                                  /

                                COMPLAINT

        COMES NOW, Plaintiff, TRAVIS ATKINS, by and through the

undersigned counsel, and sues Defendant, WELLS FARGO BANK, N.A.,

and in support thereof respectfully alleges violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                              INTRODUCTION

         1.     The TCPA was enacted to prevent companies like WELLS

FARGO BANK, N.A. (hereinafter “Defendant” or “Wells Fargo”) from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

         2.     “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin.

Servs., LLC, 132 S. Ct. 740 (2012).

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      3.     “Senator Hollings, the TCPA’s sponsor, described these calls as

‘the *1256 scourge of modern civilization, they wake us up in the morning;

they interrupt our dinner at night; they force the sick and elderly out of bed;

they hound us until we want to rip the telephone out of the wall.’ 137 Cong.

Rec. 30, 821 (1991).       Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop

calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

2014).

      4.     According to the Federal Communications Commission (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There

are thousands of complaints to the FCC every month on both telemarketing

and robocalls. The FCC received more than 215,000 TCPA complaints in

2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal

Communications           Commission,           (May          27,        2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                      JURISDICTION AND VENUE




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       5.    Jurisdiction and venue for purposes of this action are

appropriate and conferred by 28 U.S.C. § 1331, Federal Question

Jurisdiction, as this action involves violations of the TCPA.

       6.    Subject matter jurisdiction, federal question jurisdiction, for

purposes of this action is appropriate and conferred by 28 U.S.C. § 1331,

which provides that the district courts shall have original jurisdiction of all

civil actions arising under the Constitution, laws, or treaties of the United

States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).

See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v.

State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

      7.     The alleged violations described herein occurred in Pierce

County, Georgia. Accordingly, venue is appropriate with this Court under 28

U.S.C. §1391(b)(2), as it is the judicial district in which a substantial part of

the events or omissions giving rise to this action occurred.

                        FACTUAL ALLEGATIONS

      8.     Plaintiff is a natural person, and citizen of the State of Georgia,

residing in Pierce County, Georgia.




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       9.    Plaintiff is the “called party.” See Breslow v. Wells Fargo

Bank, N.A., 755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank,

F.S.B., 746 F.3d 1242 (11th Cir. 2014).

       10.   Defendant, Wells Fargo Bank, N.A., is a foreign profit

corporation with its principal place of business located at 464 California

Street, San Francisco, California 94104 and which conducts business in the

State of Georgia through its registered agent, Corporation Service Company,

located at 40 Technology Parkway South, Suite 300, Norcross, Georgia

30092.

       11.   Defendant called Plaintiff approximately one hundred (100)

times in an attempt to collect an alleged debt that did/does not belong to

Plaintiff.   Please see attached Exhibit “A”, which represents a non-

exclusive call log reflecting fifteen (15) calls between October 2, 2018 and

October 17, 2018.

       12.   Upon information and belief, some or all of the calls Defendant

made to Plaintiff’s cellular telephone number were made using an

“automatic telephone dialing system” which has the capacity to store or

produce telephone numbers to be called, using a random or sequential

number generator (including but not limited to a predictive dialer) or an


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artificial or prerecorded voice; and to dial such numbers as specified by 47

U.S.C § 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that

he knew it was an autodialer because of the vast number of calls he received

and because he heard an extended pause when he answered his phone before

a voice came on the line.

      13.    Plaintiff is the subscriber, regular user and carrier of the cellular

telephone number (912) ***-7608, and was the called party and recipient of

Defendant’s calls.

      14.    Defendant placed an exorbitant amount of automated calls to

Plaintiff’s cellular telephone (912) ***-7608 in an attempt to reach an

unknown female customer.

      15.    Plaintiff does not currently have any account or business

dealings with Defendant.

      16.    On several occasions over the last year, Plaintiff instructed

Defendant’s agent(s) to stop calling his cellular telephone.

      17.    In or about September of 2018, Plaintiff received a call from

Defendant on his aforementioned cellular telephone number, met with an

extended pause, was eventually connected to a live agent/representative,

explained to the agent/representative that he did not have an account with


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Wells Fargo, he did not know the female customer Defendant was

attempting to reach, and demanded that Defendant stop calling his cellular

telephone number.

      18.    Despite clearly and unequivocally revoking any consent that

Defendant may have mistakenly believed it had to call Plaintiff on his

cellular telephone, Defendant continued to place automated calls to

Plaintiff’s cellular telephone.

      19.    Each     subsequent     call    Defendant   made   to   Plaintiff’s

aforementioned cellular telephone number was knowing and/or willful.

      20.    On at least three (3) separate occasions, Plaintiff has either

answered a call from, or a returned a call to, Defendant, held the line to be

connected to an agent/representative, informed the agent/representative that

he did not have an account with them, and demanded that Defendant stop

calling his aforementioned cellular telephone number.

      21.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice to individuals just as they

did to Plaintiff’s cellular telephone in this case.

      22.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice, just as they did to the


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Plaintiff’s cellular telephone in this case, with no way for the consumer,

Plaintiff, or Defendant, to remove the number.

      23.    Defendant’s corporate policy is structured so as to continue to

call individuals like Plaintiff, despite these individuals explaining to

Defendant they do not wish to be called.

      24.    Defendant has numerous other federal lawsuits pending against

them alleging similar violations as stated in this Complaint.

      25.    Defendant has numerous complaints against it across the

country asserting that its automatic telephone dialing system continues to

call despite being requested to stop.

      26.    Defendant has had numerous complaints against it from

consumers across the country asking to not be called; however, Defendant

continues to call these individuals.

      27.    Defendant’s corporate policy provided no means for Plaintiff to

have Plaintiff’s number removed from Defendant’s call list.

      28.    Defendant has a corporate policy to harass and abuse

individuals despite actual knowledge the called parties do not wish to be

called.




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       29.    Not one of Defendant’s telephone calls placed to Plaintiff were

for “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       30.    Defendant willfully and/or knowingly violated the TCPA with

respect to Plaintiff.

       31.    From each and every call placed without express consent by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of invasion

of privacy and the intrusion upon his right of seclusion.

       32.    From each and every call without express consent placed by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of the

occupation of his cellular telephone line and cellular phone by unwelcome

calls, making the phone unavailable for legitimate callers or outgoing calls

while the phone was ringing from Defendant’s call.

       33.    From each and every call placed without express consent by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of

unnecessary expenditure of his time. For calls he answered, the time he

spent on the call was unnecessary as he repeatedly asked for the calls to stop.

Even for unanswered calls, Plaintiff had to waste time to unlock the phone

and deal with missed call notifications and call logs that reflect the unwanted

calls. This also impaired the usefulness of these features of Plaintiff’s


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cellular phone, which are designed to inform the user of important missed

communications.

      34.    Each and every call placed without express consent by

Defendant to Plaintiff’s cell phone was an injury in the form of a nuisance

and annoyance to the Plaintiff. For calls that were answered, Plaintiff had to

go to the unnecessary trouble of answering them. Even for unanswered calls,

Plaintiff had to waste time to unlock the phone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness of these features of Plaintiff’s cellular phone, which

are designed to inform the user of important missed communications.

      35.    Each and every call placed without express consent by

Defendant to Plaintiff’s cell phone resulted in the injury of unnecessary

expenditure of Plaintiff’s cell phone’s battery power.

      36.    Each and every call placed without express consent by

Defendant to Plaintiff’s cell phone where a voice message was left occupied

space in Plaintiff’s phone or network.

      37.    Each and every call placed without express consent by

Defendant to Plaintiff’s cell phone resulted in the injury of a trespass to

Plaintiff’s chattel, namely his cellular phone and his cellular phone services.


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      38.    As a result of the calls described above, Plaintiff suffered an

invasion of privacy. Plaintiff was also affect in a personal and individualized

way by stress, anxiety, and aggravation.

                                  COUNT I
                           (Violation of the TCPA)

      39.    Plaintiff fully incorporates and realleges paragraphs one (1)

through thirty-eight (38) as if fully set forth herein.

      40.    Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular

telephone after Plaintiff notified Defendant that Plaintiff wished for the calls

to stop

      41.    Defendant repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiff’s prior express consent in

violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

      WHEREFORE, Plaintiff respectfully demands a trial by jury on all

issues so triable and judgment against Wells Fargo Bank, N.A. for statutory

damages, punitive damages, actual damages, treble damages, enjoinder from

further violations of these parts and any other such relief the court may deem

just and proper.

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                                    Respectfully submitted,

                                    /s/ Octavio Gomez
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